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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1193V
                                    Filed: October 19, 2017
                                        UNPUBLISHED


    TERESA SWANGO,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Ronald C. Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Adriana R. Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

      On September 23, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleged that her receipt of an influenza (“flu”) vaccine on
October 25, 2013, caused her to suffer a shoulder injury related to vaccine
administration (“SIRVA”). The case was assigned to the Special Processing Unit
(“SPU”) of the Office of Special Masters.

        On October 19, 2017, the undersigned issued a ruling on entitlement finding
petitioner entitled to compensation for a SIRVA. On October 19, 2017, respondent filed
a proffer on award of compensation (“Proffer”) in his Rule 4(c) Report indicating
petitioner should be awarded $131,325.00. Rule 4(c) Report at 8. In the Proffer,
respondent represented that petitioner agrees with the proffered award. Id. Based on


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the Proffer, 3 the undersigned awards petitioner
a lump sum payment of $131,325.00 in the form of a check payable to petitioner,
Teresa Swango. This amount represents compensation for all damages that would be
available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 4

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3The Proffer is not attached to this decision because it was included in the Rule 4(c) Report, which
contains confidential medical information.

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                      2
